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                                         IN THE
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 FREEDOM FROM RELIGION                         )
 FOUNDATION, et al.,                           )
                                               )
                       Plaintiffs,             )
                                               )
                v.                             )        No. 1:14-cv-02047-TWP-DML
                                               )
 FRANKLIN COUNTY, INDIANA,                     )
                                               )
                       Defendant.              )

                                             ORDER

        The plaintiffs having filed their Motion to Withdraw Preliminary Injunction Motion

 (“Motion”), and the Court having read and reviewed the same and being duly advised, the Court

 now finds that said Motion should be GRANTED.

        IT IS THEREFORE ORDERED that the plaintiffs’ Motion for Preliminary Injunction

 (ECF No. 6) is hereby withdrawn, without prejudice to its refiling if circumstances dictate.

        SO ORDERED.


  12/22/2014                                       ________________________
 ___________________
 Date                                              Hon. Tanya Walton Pratt, Judge
                                                   United States District Court
                                                   Southern District of Indiana


 Cc:    All ECF-registered counsel of record




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